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MINUTE ENTRY
FALLON, J.
OCTOBER 2, 2024

                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

ST. BERNARD PARISH SCHOOL BOARD                                   CIVIL ACTION

VERSUS                                                            NO. 24-1952

BOARD OF COMMISSIONERS OF THE                                     SECTION: L (5)
PORT OF NEW ORLEANS

BEFORE JUDGE ELDON E. FALLON
Case Manager: Dean Oser
Court Reporter: Toni Tusa

Appearances: David Jarrell, Esq., for Plaintiff
             Michael Drew, Esq., Etienne Balart, Esq. and Harry Rosenberg, Esq., for the
             Defendant

Motion of Plaintiff, St. Bernard Parish School Board, to Remand Case to State Court. (9)

After argument – motion was taken under submission.




JS10:   : 37
